Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 1 of 52 PageID: 1




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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

CRAIG J. HOLLAND, Individually           Case No:
and on behalf of all others similarly
situated,                                CLASS ACTION COMPLAINT
                                         FOR VIOLATIONS OF THE
              Plaintiff,                 FEDERAL SECURITIES LAWS

              v.                         JURY TRIAL DEMANDED

9F INC., LEI SUN, YANJUN LIN,
YIFAN REN, CHANGXING XIAO,
FLYNN XUXIAN HUANG, IVAN
XU, JUNSHENG ZHANG, WING
HON CHEUNG, FANGXIONG
GONG, DAVID CUI, LEI LIU, SIU
FUNG MING, CREDIT SUISSE
SECURITIES (USA) LLC, HAITONG
INTERNATIONAL SECURITIES
COMPANY LIMITED, CLSA
LIMITED, CHINA INVESTMENT
SECURITIES INTERNATIONAL
BROKERAGE LIMITED, 9F
PRIMASIA SECURITIES LIMITED,
and COGENCY GLOBAL INC.,

       Defendants.



                                     1
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 2 of 52 PageID: 2




      Plaintiff Craig J. Holland (“Plaintiff”), individually and on behalf of all

other persons similarly situated, by Plaintiff’s undersigned attorneys, for

Plaintiff’s complaint against Defendants (defined below), alleges the following

based upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and

information and belief as to all other matters, based upon, inter alia, the

investigation conducted by and through his attorneys, which included, among

other things, a review of the Defendants’ public documents, conference calls and

announcements made by Defendants, public filings, wire and press releases

published by and regarding 9F Inc. (“9F,” “JFU,” or the “Company”), and

information readily obtainable on the Internet. Plaintiff believes that substantial

evidentiary support will exist for the allegations set forth herein after a reasonable

opportunity for discovery.

                          NATURE OF THE ACTION

      1.     Plaintiff brings this securities class action on behalf of persons who

purchased or otherwise acquired the Company’s securities: (1) pursuant and/or

traceable to the registration statement and related prospectus (collectively, the

“Registration Statement”) issued in connection with 9F’s August 14, 2019 initial

public offering (the “IPO” or “Offering”); and/or (2) between August 14, 2019

and September 29, 2020, both dates inclusive (the “Class Period”), seeking to

recover compensable damages caused by Defendants’ violations of the Securities


                                          2
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 3 of 52 PageID: 3




Act of 1933 (the “Securities Act”) and violations of Sections 10(b) and 20(a) of

the Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5,

promulgated thereunder.

      2.     In August 2019, Defendants held the IPO, selling approximately 8.9

million American depositary shares (“ADSs”) to the investing public at $9.50 per

ADS, pursuant to the Registration Statement.

      3.     By the commencement of this action, the Company’s shares trade

significantly below the IPO price. As a result, investors were damaged.

                          JURISDICTION AND VENUE

      4.     The claims alleged herein arise under and pursuant to Sections 11,

12(a)(2) and 15 of the Securities Act (15 U.S.C. §§77k, 771(a)(2) and 77o) and

Sections 10(b) and 20(a) of the Exchange Act (15 U.S.C. §§78j(b) and 78t(a)) and

Rule 10b-5 promulgated thereunder by the SEC (17 C.F.R. §240.10b-5).

      5.     This Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. §1331 and §22 of the Securities Act and 28 U.S.C. §1331

and §27 of the Exchange Act.

      6.     This Court has jurisdiction over each defendant named herein

because each defendant has sufficient minimum contacts with this District so as to

render the exercise of jurisdiction by this Court permissible under traditional

notions of fair play and substantial justice.


                                           3
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 4 of 52 PageID: 4




       7.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and

§22(a) of the Securities Act (15 U.S.C. §77v(a)) as a significant portion of the

Defendants’ actions, and the subsequent damages took place within this District

and §27 of the Exchange Act (15 U.S.C. §78aa) and 28 U.S.C. §1391(b) as the

alleged misstatements entered and subsequent damages took place within this

District.

       8.     In connection with the acts, conduct and other wrongs alleged in this

complaint, Defendants, directly or indirectly, used the means and instrumentalities

of interstate commerce, including but not limited to, the United States mails,

interstate telephone communications and the facilities of a national securities

exchange. Defendants disseminated the statements alleged to be false and

misleading herein into this District, and Defendants solicited purchasers of 9F

securities in this District.

                                     PARTIES

       9.     Plaintiff, as set forth in the accompanying Certification, purchased the

Company’s securities at artificially inflated prices during the Class Period and was

damaged upon the revelation of the corrective disclosure.

       10.    Defendant 9F purports to be a company primarily engaged in the

provision of financial investment services in China through a digital financial

account platform. The Company’s primary products and services include consumer


                                          4
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 5 of 52 PageID: 5




loan products, online wealth management products, and payment facilitation.

       11.   The Company is incorporated in the Cayman Islands and its head

office is located at the Jiufu Building, Rongxin Technology Center, Chaoyang

District, Beijing 100102, People’s Republic of China (“PRC”). 9F ADSs trade on

the Nasdaq Exchange (“NASDAQ”) under the ticker symbol “JFU.”

       12.   Defendant Lei Sun (“Sun”) has served as the Company’s Chairman

and Chief Executive Officer (“CEO”) since 2017 and was at the time of the IPO

9F’s CEO and Chairman of the Board of Directors (the “Board”). He is also a co-

founder of the Company. Defendant Sun signed the false and misleading

Registration Statement. Defendant Sun sold 2.15 million ADSs as a “selling

shareholder” in the Company’s IPO, through Nine F Capital Limited, a British

Virgin Islands company, which he controls. Defendant Sun beneficially owned

77,526,800 ordinary shares (39.1% of the outstanding shares) of 9F just prior to the

IPO.

       13.   Defendant Yanjun Lin (“Lin”) has served as the Chief Financial

Officer (“CFO”) since 2015 and was at the time of the IPO 9F’s CFO and a

member of its Board. Defendant Lin has served as the CEO of Defendant 9F

Primasia Securities Limited (“Primasia Securities”) since 2016. Defendant Lin

signed the false and misleading Registration Statement. Defendant Lin beneficially

owned 2,490,700 ordinary shares (1.3% of the outstanding shares) of 9F just prior


                                         5
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 6 of 52 PageID: 6




to the IPO.

      14.     Defendants Sun and Lin as sometimes referred to as the “Individual

Defendants.”

      15.     The Individual Defendants:

              (a)   directly participated in the management of the Company;

              (b)   was directly involved in the day-to-day operations of the

              Company at the highest levels;

              (c)   was privy to confidential proprietary information concerning

              the Company and its business and operations;

              (d)   was directly or indirectly involved in drafting, producing,

              reviewing and/or disseminating the false and misleading statements

              and information alleged herein;

              (e)   was directly or indirectly involved in the oversight or

              implementation of the Company’s internal controls;

              (f)   was aware of or recklessly disregarded the fact that the false

              and misleading statements were being issued concerning the

              Company; and/or

              (g)   approved or ratified these statements in violation of the federal

              securities laws.

      16.     The Company is liable for the acts of the Individual Defendants and


                                           6
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 7 of 52 PageID: 7




its employees under the doctrine of respondeat superior and common law

principles of agency because all of the wrongful acts complained of herein were

carried out within the scope of their employment.

       17.   The scienter of the Individual Defendants and other employees and

agents of the Company is similarly imputed to the Company under respondeat

superior and agency principles.

       18.   Defendant Yifan Ren (“Ren”) was at the time of the IPO a member of

9F’s Board. He is also a co-founder of the Company. Defendant Ren signed the

false and misleading Registration Statement. Defendant Ren beneficially owned

43,583,400 ordinary shares (23.3% of the outstanding shares) of 9F just prior to the

IPO.

       19.   Defendant Changxing Xiao (“Xiao”) was at the time of the IPO a

member of 9F’s Board. Defendant Xiao signed the false and misleading

Registration Statement. Defendant Xiao beneficially owned 13,920,300 ordinary

shares (7.4% of the outstanding shares) of 9F just prior to the IPO.

       20.   Defendant Flynn Xuxian Huang (“Huang”) was at the time of the IPO

a member of 9F’s Board. Defendant Huang signed the false and misleading

Registration Statement.

       21.   Defendant Ivan Xu (“Xu”) was at the time of the IPO a member of

9F’s Board. Defendant Xu signed the false and misleading Registration Statement.


                                         7
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 8 of 52 PageID: 8




Defendant Xu beneficially owned 7,237,000 ordinary shares (3.8% of the

outstanding shares) of 9F just prior to the IPO.

      22.    Defendant Junsheng Zhang (“Zhang”) was at the time of the IPO a

member of 9F’s Board. Defendant Zhang signed the false and misleading

Registration Statement. Defendant Zhang beneficially owned 3,912,700 ordinary

shares (2.1% of the outstanding shares) of 9F just prior to the IPO.

      23.    Defendant Wing Hon Cheung (“Cheung”) was at the time of the IPO a

member of 9F’s Board. Defendant Cheung signed the false and misleading

Registration Statement.

      24.    Defendant Fangxiong Gong was named in the Registration Statement,

with his consent, as having accepted appointment as a Company director effective

upon the SEC’s declaration of effectiveness of the Registration Statement.

      25.    Defendant David Cui (“Cui”) was named in the Registration

Statement, with his consent, as having accepted appointment as a Company

director effective upon the SEC’s declaration of effectiveness of the Registration

Statement.

      26.    Defendant Lei Liu (“Liu”) was named in the Registration Statement,

with his consent, as having accepted appointment as a Company director effective

upon the SEC’s declaration of effectiveness of the Registration Statement. He is

also a co-founder of the Company and was, at the time of the IPO, its Executive


                                         8
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 9 of 52 PageID: 9




President and Chief Risk Officer. Defendant Liu beneficially owned 4,347,600

ordinary shares (2.3% of the outstanding shares) of 9F just prior to the IPO.

Defendant Liu became the Company’s Chief Risk Officer in June 2020 and

replaced Defendant Sun as 9F’s CEO in August 2020.

      27.   Defendant Siu Fung Ming (“Ming”) was at the time of the IPO 9F’s

duly authorized representative in the United States. Defendant Ming signed the

false and misleading Registration Statement on his own behalf and on behalf of

Defendant Cogency Global Inc. (“Cogency Global”), Defendant Ming’s employer.

      28.   The Individual Defendants and the defendants named in ¶¶18-27 are

sometimes referred to herein as the “Offering Defendants.”

      29.   Each of the Offering Defendants signed or authorized the signing of

the Registration Statement, solicited the investing public to purchase securities

issued pursuant thereto, hired and assisted the underwriters, planned and

contributed to the IPO and Registration Statement, and attended road shows and

other promotions to meet with and present favorable information to potential 9F

investors, all motivated by their own and the Company’s financial interests.

      30.   Defendant Credit Suisse Securities (USA) LLC served as an

underwriter for the Company’s IPO. Credit Suisse Securities (USA) LLC

maintains an office at 2121 Avenue of the Stars, Los Angeles, CA 90067.

      31.   Defendant Haitong International Securities Company Limited served


                                        9
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 10 of 52 PageID: 10




as an underwriter for the Company’s IPO. The address of Haitong International

Securities Company Limited is 22/F Li Po Chun Chambers, 189 Des Voeux Road

Central, Hong Kong Special Administrative Region of the PRC.

      32.   Defendant CLSA Limited served as an underwriter for the Company’s

IPO. The address of CLSA Limited is 18/F, One Pacific Place, 88 Queensway,

Hong Kong Special Administrative Region of the PRC.

      33.   Defendant China Investment Securities International Brokerage

Limited served as an underwriter for the Company’s IPO. The address of China

Investment Securities International Brokerage Limited is Unit Nos. 7701A & 05B-

08 Level 77, International Commerce Center, No. 1 Austin Road West, Kowloon,

Hong Kong Special Administrative Region of the PRC.

      34.   Defendant Primasia Securities served as an underwriter for the

Company’s IPO. Primasia Securities is a subsidiary of the Company and its

address is Suite 4806-07, 48/F, Central Plaza, No. 18 Harbour Road, Wanchai,

Hong Kong Special Administrative Region of the PRC.

      35.   The defendants referenced above in ¶¶30-34 are referred to herein as

the “Underwriter Defendants.” The Underwriter Defendants are liable for the false

and misleading statements in the Registration Statement. In connection with the

IPO, the Underwriter Defendants drafted and disseminated the Registration

Statement and were collectively paid nearly $8 million in underwriting discounts


                                      10
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 11 of 52 PageID: 11




and fees in connection therewith. The Underwriter Defendants’ failure to conduct

an adequate due diligence investigation was a substantial factor leading to the harm

complained of herein.

      36.   Pursuant to the Securities Act, the Underwriter Defendants are liable

for the false and misleading statements in the Registration Statement as follows:

            (a)    The Underwriter Defendants are investment banking houses

            that specialize in, among other things, underwriting public offerings

            of securities. They served as the underwriters of the IPO and shared

            substantial fees from the IPO collectively. The Underwriter

            Defendants arranged a roadshow prior to the IPO during which they,

            and representatives from 9F, met with potential investors and

            presented highly favorable information about the Company, its

            operations and its financial prospects.

            (b)    Representatives of the Underwriter Defendants also assisted 9F

            and the Offering Defendants in planning the IPO, and purportedly

            conducted an adequate and reasonable investigation into the business

            and operations of the Company, an undertaking known as a “due

            diligence” investigation. The due diligence investigation was required

            of the Underwriter Defendants in order to engage in the IPO. During

            the course of their “due diligence,” the Underwriter Defendants had


                                        11
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 12 of 52 PageID: 12




            continual   access to    internal, confidential, current    corporate

            information concerning the Company’s most up-to-date operational

            and financial results and prospects.

            (c)   In addition to availing themselves of virtually unlimited access

            to internal corporate documents, agents of the Underwriter

            Defendants met with the Company’s lawyers, management and top

            executives and engaged in “drafting sessions.” During these sessions,

            understandings were reached as to: (i) the strategy to best accomplish

            the IPO; (ii) the terms of the IPO, including the price at which the

            Company’s securities would be sold; (iii) the language to be used in

            the Registration Statement; what disclosures about the Company’s

            would be made in the Registration Statement; and (iv) what responses

            would be made to the SEC in connection with its review of the

            Registration Statement. As a result of those constant contacts and

            communications       between      the    Underwriter     Defendants’

            representatives and the Company’s management and top executives,

            the Underwriter Defendants knew of, or in the exercise of reasonable

            care should have known of, the Company’s existing problems as

            detailed herein.

      37.   The Underwriter Defendants caused the Registration Statement to be


                                        12
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 13 of 52 PageID: 13




filed with the SEC and declared effective in connection with the offers and sales of

securities registered thereby, including those to Plaintiff and the other members of

the Class.

      38.    Defendant Cogency Global was 9F’s authorized U.S. representative

for purposes of the IPO through its employee Defendant Ming, and Defendant

Ming signed the Registration Statement for the IPO as an employee of Defendant

Cogency Global. Defendant Cogency Global is additionally liable for the securities

law violations alleged herein to have been committed by Defendant Ming as it

controlled Defendant Ming at the time of the IPO.

      39.    The Company, the Offering Defendants, the Underwriter Defendants,

and Cogency Global are referred to herein, collectively, as the “Defendants.”

                       SUBSTANTIVE ALLEGATIONS
                           Background and Overview

      40.    9F claims to be a leading digital financial account platform that

integrates and personalizes financial services in China. It provides a

comprehensive range of financial products and services across loan products,

online wealth management products, and payment facilitation, all integrated under

a single digital financial account. According to consulting firm Oliver Wyman

Group, 9F was the largest online consumer finance platform in terms of

outstanding loan balance as of December 31, 2018 among independent


                                        13
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 14 of 52 PageID: 14




marketplace lending platforms in China. The Company claims to “leverage

technology [and] a deep understanding of [its] large user base and strategic partner

relationships to create a one-stop experience bringing together borrowers,

investors, financial institution partners and merchant partners.”

      41.    9F offers borrowers a digital alternative to conventional personal

finance offerings, which it calls “One Card.” The Company claims to have built an

“ecosystem” around One Card connecting borrowers, investors, financial

institution partners and merchant partners.

      42.    9F offers revolving loan products supposedly tailored to the specific

spending needs and risk profiles of its “millions of One Card users.” The

Company’s One Card users can utilize their approved credit limits to purchase

products from the Company’s strategic partners, including China UnionPay, which

purportedly has connected more than three million merchants, and from the One

Card Mall, the Company’s proprietary online shopping platform. One Card users

can also draw down cash from approved credit limits to meet other financial needs.

The Company provides borrowers with a single point from which to browse

products on the “One Card Mall” and finance transactions.

      43.    The loan products that 9F offers to borrowers are funded by investors

and institutional funding partners. Investors are offered a selection of investment

products, including fixed income products, which fund loans on the Company’s


                                         14
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 15 of 52 PageID: 15




platform. Similarly, some of the Company’s financial institution partners, such as

small and medium-sized banking organization, provide funds to One Card users

directly through the Company’s direct lending program.

      44.   As of June 30, 2019, the Company’s institutional funding partners had

approved an aggregate funding limit of over RMB70 billion ($10.4 billion) under

9F’s direct lending program. The percentage of loan origination volume funded by

institutional funding partners (to total loan origination volume) increased

significantly from approximately 10.5% for the three months ended March 31,

2019, to 58% for the three months ended June 30, 2019.

      45.   To further strengthen its business model, 9F also partnered with

Taiping General Insurance Co. Ltd. (“China Taiping”) and Property and Casualty

Company Limited (“PICC”) to provide loan performance guarantee insurance

policies on loans with terms of 12 months or fewer. Of particular importance to

investors at the time of the IPO was 9F’s relationship with PICC, which began in

March 2018, as PICC had been the exclusive provider of insurance protection to all

new 9F loans with terms of no more than 12 months originated since May 2018

and that were covered by an insurance protection plan. Under the “Cooperation

Agreement” between 9F and PICC setting forth the parties’ arrangement, in

addition to providing insurance protection, PICC was obligated to pay service fees

to 9F since, among other things, “it also benefits from [9F’s] risk management


                                       15
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 16 of 52 PageID: 16




capabilities to provide credit insurance on loans of high quality borrowers.”

      46.    The guarantee insurance policies were issued by PICC, paid for by the

borrowers, and protected investors or institutional funding partners in the event of

a borrower default. Under the Cooperation Agreement, PICC collected all of the

loan facilitation service fees from the borrowers and remitted 9F’s portion of the

service fees to the Company. If a loan is past due for a certain period, the PICC

policies would purportedly protect investors and institutional funding partners up

to the full amount of the principal and accrued interest. 9F recorded an account

receivable for the service fees confirmed and to be remitted by PICC.

      47.    9F claimed that its critical relationship with PICC strengthened the

“credibility” of its platform, further enlarged its investor base, helped the Company

expand its institutional funding partner base, and promoted the rapid development

of 9F’s direct lending program.

      48.    In August 2019, defendants took 9F public in the United States

through the IPO that resulted in 9F ADSs trading on the NASDAQ. While 9F’s

IPO pricing range was initially estimated to be $7.50 to $9.50 per ADS, the

Company ultimately went public at the very top of that range, $9.50 per ADS.

      49.    In the IPO, 9F sold over 8 million ADSs (including the full exercise of

the Underwriter Defendants’ over-allotment option), generating approximately $77

million in proceeds from the offering (before costs and expenses). The selling


                                        16
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 17 of 52 PageID: 17




shareholder, Defendant Sun, also sold approximately 2.15 million ADSs at $9.50

per ADS in the offering, grossing more than $20 million in proceeds for himself.

      50.    The Registration Statement was negligently prepared and, as a result,

contained materially false and misleading statements of fact and failed to disclose

facts required to be disclosed therein regarding 9F’s business, operations and

prospects.

      51.    Soon after the IPO, on December 5, 2019, 9F reported its third quarter

2019 financial results – the same quarter during which the IPO had been

conducted. The Company’s net accounts receivable had ballooned in size from

RMB180 million as of December 31, 2018 to RMB1.9 billion, a more than ten-fold

increase, as of September 30, 2019.

      52.    Then, on June 12, 2020, the Company stated that it had been involved

in an ongoing dispute with its critical insurance partner, PICC, despite the fact that

the dispute had not been disclosed in the Registration Statement. According to 9F,

a breakdown in the Company’s relationship with PICC had resulted in multiple

legal actions in China “due to PICC’s nonperformance of a cooperation agreement

. . . to pay the outstanding service fees under 9F’s direct lending program.” The

Company further stated that it was seeking damages of approximately RMB2.3

billion from PICC to cover the outstanding service fees and related late payment

losses. It also disclosed that PICC was suing 9F in a separate action seeking the


                                         17
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 18 of 52 PageID: 18




return of previously paid service fees and a ruling that it was not obligated to pay

any outstanding fees.

      53.    On June 15, 2020, the Company filed with the SEC on Form NT 20-F

a notice stating that it would be unable to file its annual report timely. The notice

effectively confirmed that the Company’s dispute with PICC predated the IPO,

stating that it was expected to engender “significant changes in results of

operations between 2018 and 2019.” The notice continued: “With respect to

RMB1.4 billion of the Outstanding Service Fees that has been recorded as accounts

receivable, the Company has recognized full valuation allowance” and “has not

recognized the remaining Outstanding Service Fees in the amount of

approximately RMB0.8 billion, as revenue recognition criteria was not met.” As a

result, “[t]he dispute with PICC has materially and adversely affected the

Company’s results of operations and financial condition in 2019.”

      54.    On June 17, 2020, 9F issued a press release providing its fourth

quarter and full year 2019 financial results. The release provided further

confirmation that 9F’s dispute with PICC predated the IPO and had caused

material damage to 9F’s business, operations and financial results. For example,

the release stated that the Company’s dramatic increase in net accounts receivable

– which had notably increased in the second quarter 2019 (as reported after the

IPO on September 27, 2019) and third quarter 2019 (the same quarter as the IPO) –


                                        18
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 19 of 52 PageID: 19




was due to its dispute with PICC. The magnitude of the outstanding balance, which

stood at more than RMB1.4 billion, also indicated that the amount owed had been

increasing for many months prior to the end of 2019. The release stated in pertinent

part as follows:

      Provision (reversal) for doubtful contract assets and receivables
      increased from reversed RMB2.6 million in the fourth quarter of 2018
      to provision RMB2,148.6 million (US$308.6 million) for the same
      period of 2019, primarily because we recognized a full valuation
      allowance for accounts receivable from PICC amounting to
      RMB1,432.3 million (US$205.7 million).

      55.    Subsequent to the IPO, the price of 9F ADSs has plummeted in value.

As of the filing of this complaint, 9F ADSs substantially below the IPO price.

                        Materially False and Misleading
                        False and Misleading Statements

      56.    On or about July 25, 2019, 9F filed with the SEC a registration

statement on Form F-1, which in combination with subsequent amendments on

Forms F-1/A and filed pursuant to Rule 424(b)(4), are collectively referred to as

the Registration Statement and issued in connection with the IPO. The F-1 was

signed by the Offering Defendants.

      57.    On August 8, 2019, 9F filed one of several amendments to the

Registration Statement with the SEC on Form F-1/A, which stated that the offering

would be for 8.9 million ADSs (representing 8.9 million Class A ordinary shares),

with an option for the Underwriter Defendants to purchase up to 1.335 million

                                        19
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 20 of 52 PageID: 20




additional ADSs, at an anticipated offering price of between $7.50 and $9.50 per

ADS. Of the total, the Company would offer 6.75 million ADSs (plus any exercise

of the over-allotment by the Underwriter Defendants) while the selling

shareholder, Defendant Sun, would offer 2.15 million ADSs. This F-1/A was

signed by Defendants Sun and Ming.

      58.    On August 14, 2019, 9F filed its final amendment to the Registration

Statement with the SEC on Form F-1/A. The SEC declared the Registration

Statement effective after the close of trading that same day. This F-1/A was signed

by Defendants Sun and Ming.

      59.    On August 15, 2019, the Company filed its prospectus on Form

424B4 with the SEC, which incorporated and also formed part of the Registration

Statement.

      60.    In the IPO, Defendants offered and sold 8.085 million 9F ADSs

(which includes the Underwriter Defendants’ over-allotment) and the Selling

Shareholder sold 2.15 million ADSs at a price of $9.50 per share. Thus, the IPO

raised over $97 million in gross proceeds from investors.

      61.    The Registration Statement for the IPO was negligently prepared and,

as a result, contained materially false and misleading statements of fact and failed

to disclose facts required to be disclosed therein regarding 9F’s business,

operations and prospects.


                                        20
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 21 of 52 PageID: 21




      62.       For example, the Registration Statement stated that 9F’s accounts

receivable, net of allowance for doubtful accounts, stood at RMB180.1 million

($26.8 million) and RMB246.8 million ($36.78 million) as of December 31, 2018

and March 31, 2019, respectively. In addition, the Registration Statement stated

that 9F’s allowance for doubtful accounts stood at RMB1.1 million ($157,000) and

RMB919,000 ($137,000) as of December 31, 2018 and March 31, 2019,

respectively.

      63.       Under a section entitled “Accounts Receivable,” the Registration

Statement described 9F’s accounts receivable in pertinent part as follows:

      Our accounts receivable, net of allowance for doubtful accounts of
      RMB27.7 million, RMB29.6 million, RMB1.1 million (US$0.2
      million) and RMB0.9 million (US$0.1 million) as of December 31,
      2016, 2017, 2018 and March 31, 2019, respectively, primarily
      includes the service fees receivable from investors and accounts
      receivable from customers in connection of our business of online
      direct sales of upscale products.

                                        ***

      Our accounts receivable decreased by 40.0% from RMB300.1 million
      as of December 31, 2017 to RMB180.1 million (US$26.8 million) as
      of December 31, 2018 primarily due to the change of products mix as
      we offered more fixed income products with the service fees charged
      to investors at the inception of the investment commitment period in
      2018.

      Our accounts receivable increased by 37.0% from RMB180.1
      million (US$26.8 million) as of December 31, 2018 to RMB246.8
      million (US$36.8 million) as of March 31, 2019, primarily because
      we had RMB46.0 million (US$6.9 million) in the accounts
      receivable from our business of online direct sales of upscale

                                         21
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 22 of 52 PageID: 22




      products and RMB47.0 million (US$7.0 million) in accounts
      receivable from our direct lending program, each as of March 31,
      2019.

      (Emphasis added.)

      64.    Similarly, under a section entitled “Allowance for doubtful accounts,”

the Registration Statement stated, in pertinent part, as follows:

      Accounts receivable, other receivables and loan receivables are stated
      at the historical carrying amount net of write-offs and allowance for
      uncollectible accounts. The Group establishes an allowance for
      uncollectible accounts receivable, other receivables and loan
      receivables based on estimates, historical experience and other factors
      surrounding the credit risk of specific customers. Uncollectible
      receivables are written off when a settlement is reached for an amount
      that is less than the outstanding historical balance or when the Group
      has determined the balance will not be collected. The allowance for
      doubtful accounts for the three months ended March 31, 2018 and
      2019 is as follows:




      (Emphasis added.)

      65.    As set forth herein, the description of 9F’s accounts receivable,

provision for doubtful accounts, and related matters, as set forth at ¶¶56-64, above,

                                         22
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 23 of 52 PageID: 23




were materially false, misleading, and incomplete. The Registration Statement

failed to disclose the following material facts that existed at the time of the IPO

including that: (1) 9F’s provision for doubtful accounts receivable mainly related

to accounts receivable with a single party, PICC; (2) 9F and PICC had been

engaged in an ongoing contractual dispute regarding payment of service fees under

the Cooperation Agreement; (3) PICC was challenging, delaying, and/or otherwise

failing to pay service fees to 9F under the Cooperation Agreement; (4) the amount

of service fees under the Cooperation Agreement that were unpaid or at serious

risk of being unpaid was material and trending upward; (5) as a result of the

foregoing, the collectability of service fees owed to 9F by PICC under the

Cooperation Agreement was in doubt and at serious risk of non-payment; and (6)

as a result of the foregoing, the Registration Statement had materially

misrepresented the amount of 9F’s accounts receivable and materially understated

the Company’s allowance for doubtful accounts.

      66.   The Registration Statement also touted 9F’s relationship with PICC,

stating that the Cooperation Agreement improved the Company’s business,

operations and financial results. For example, the Registration Statement stated

that 9F’s partnership with PICC “strengthens the credibility of [the Company’s]

platform and further enlarges [its] investor base.” The Registration Statement

further claimed that PICC “provides credit insurance to institutional funding


                                       23
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 24 of 52 PageID: 24




partners, helping [9F] to expand [its] institutional funding partner base and

promote the rapid development of [its] direct lending program, which may ease the

pressure brought about by the continuing challenging regulatory environment that

negatively affect the growth of our business.” The Registration Statement similarly

stated that 9F had carefully cultivated its relationship with PICC, claiming that the

Company was “selective in working with partners who are additive to [its]

ecosystem” and that 9F would “continue to seek to develop relationships that will

enhance the experience of [the Company’s] borrowers, investors, institutional

funding partners and merchant partners.”

      67.    Under a section entitled “Our Business,” the Registration Statement

further extolled the purported benefits of 9F’s partnership with PICC, which it

claimed had bolstered 9F’s important network of financial institution partners,

stating in pertinent part as follows:

      Financial institution partners. We work with financial institution
      partners to provide funding to borrowers as well as insurance and
      guarantee protection to our investors. Our institutional funding
      partners, such as small and medium sized financial institutions,
      provide funds to our One Card users directly through our direct
      lending program. We enable our institutional funding partners to
      access our borrower base, through our strong risk management
      capabilities, and in most cases, in collaboration with an insurance
      company. We have been developing our direct lending program
      rapidly since 2018 and intend to cooperate with more institutional
      funding partners to further diversify our funding sources. As of June
      30, 2019, our institutional funding partners had approved the funding
      limit in the aggregate amount of over RMB70 billion (US$10.4
      billion) under our direct lending program. The percentage of loan

                                        24
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 25 of 52 PageID: 25




      origination volume funded by our institutional funding partners to our
      total loan origination volume has increased significantly from
      approximately 10.5% for the three months ended March 31, 2019 to
      58.0% for the three months ended June 30, 2019. Our cooperation
      with financial institution partners is not subject to the relevant local
      regulatory requirements on online lending platforms providing online
      lending information intermediary services, such as our company, to
      reduce such platforms’ business scale and number of borrowers and
      lenders during the administrative verification period. Therefore, our
      strengthened cooperation with financial institution partners may ease
      the pressure brought about by the continuing challenging regulatory
      environment that has negatively affected the growth of our business.
      We also cooperate with other financial institutions, including
      insurance companies and a third-party guarantee company to
      provide insurance and guarantee protection to our investors. An
      insurance company, when it is engaged under our direct lending
      program, provides credit insurance protection to institutional
      funding partners; on the other hand, it also benefits from our risk
      management capabilities to provide credit insurance on loans of
      high quality borrowers.

      (Emphasis added.)

      68.    Under a section entitled “Quality assurance fund liability,” the

Registration Statement further described 9F’s purportedly strong working

relationship with PICC, stating in pertinent part as follows:

      In January 2018, we announced further upgrades to the enhanced
      investors’ protection plan with respect to loans with terms of over 12
      months whereby the borrower signs a guarantee contract with
      Guangdong Success. According to the contract, when a borrower
      defaults and meanwhile, if the balance of the guarantee fund reserve
      account is insufficient to cover the unpaid amounts, Guangdong
      Success will make additional repayment up to a cap equal to five
      times of the guarantee fee paid by the borrowers. For loans with terms
      of no more than 12 months, the borrower paid insurance premium and
      signed “Loan Performance Guarantee Insurance Policy” with either
      China Taiping or PICC with whom we began to collaborate in March

                                         25
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 26 of 52 PageID: 26




      2018. China Taiping’s insurance protection obligation under our
      Taiping insurance program with respect to loans with terms of no
      more than 12 months that we facilitated between September 18, 2017
      and May 15, 2018 will be fulfilled on August 15, 2019. PICC has
      provided insurance protection to all the new loans with terms of no
      more than 12 months that have been originated since May 2018 and
      covered by the insurance protection plan.

      (Emphasis added.)

      69.    Similarly, under a section entitled “Users and Partners,” the

Registration Statement characterized 9F’s partnership with PICC as an “upgrade[]”

that had substantially improved 9F’s business and operations, stating in pertinent

part as follows:

      Financial Institution Partners
      Financial institution partners include institutional funding partners
      under our direct lending program, and other financial institutions that
      provide insurance and guarantee protection to our investors and
      institutional funding partners.

                                      ***

      In 2018, we upgraded our direct lending program introducing a tri-
      party cooperation model where we, PICC, when it is engaged as an
      insurance company providing credit insurance, and the institutional
      funding partner leverage each other’s respective capabilities and to
      collectively deliver a competitive credit solution to borrowers. Our
      value proposition is enablement, where we provide our institutional
      funding partners access to a high quality borrower base as well as
      our risk management capabilities, and in most cases, in
      collaboration with PICC. PICC, when it is engaged, provides credit
      insurance to the institutional funding partners; meanwhile, PICC
      benefits from our risk management capabilities to provide credit
      insurance on loans of high quality borrowers. The institutional
      funding partners make the final credit decision based on a credit
      assessment and also fund and service the loans. We also provide

                                       26
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 27 of 52 PageID: 27




      services after loan origination such as repayment facilitation and loan
      collection. This is particularly valuable for small and medium sized
      financial institutions that tend to lack the scale and technology to
      effectively compete with the larger financial institutions. We charge
      service fees, while PICC, when it is engaged as an insurance
      company providing credit insurance, charges insurance premiums.

      (Emphasis added.)

      70.    As set forth herein, the description of 9F’s financial institution

partners, the insurance and guarantee protection offered by PICC, the value and

benefits of its tri-party cooperation business model, and related matters, as set forth

at ¶¶66-69, above, were materially false, misleading, and incomplete. The

Registration Statement failed to disclose the following material facts that existed at

the time of the IPO: (1) the purported value and benefits of the Company’s

financial institution partners and its tri-party cooperation business model did not in

fact exist and/or were materially overstated, given that 9F and PICC had been

engaged in an ongoing contractual dispute regarding payment of service fees under

the Cooperation Agreement; (2) the collectability of service fees owed to 9F by

PICC under the Cooperation Agreement was in doubt and at serious risk of non-

payment; (3) there was a significant risk that PICC would no longer provide credit

insurance and guarantee protection to investors and institutional funding partners;

and (4) as a result of the foregoing, the Company’s platform, business model,

reputation and financial results had been materially impaired.

      71.    Rather than disclose the breakdown in 9F’s relationship with PICC

                                         27
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 28 of 52 PageID: 28




and the negative effects and implications of this adverse fact on the Company’s

business, financial results and prospects, the Registration Statement misleadingly

indicated that the only reason that PICC would not pay compensation under the

Cooperation Agreement was if it were inappropriate under the applicable policy.

The Registration Statement also acknowledged the material importance of PICC to

9F’s business and financial results, stating that if the relationship was lost it “may

negatively affect the development of [9F’s] direct lending program and [9F’s]

business and results of operations,” but misleadingly failed to disclose that the

Company was already in a business dispute with PICC and that the loss of PICC as

a business partner was imminent. The Registration Statement further failed to

disclose that PICC had already challenged, delayed, and/or failed to pay service

fees to 9F under the parties’ Cooperation Agreement and that the Company’s

ongoing relationship with PICC was already in doubt and at serious risk of

termination. The Registration Statement stated in pertinent part as follows:

      We maintain an insurance arrangement with Taiping General
      Insurance Co., Ltd. (“China Taiping”) or PICC Property and Casualty
      Company Limited (“PICC”), each a reputable third-party insurance
      provider, to provide insurance to investors for the majority of loans
      with terms of no more than 12 months. However, such investor
      protection mechanism may not function in certain scenarios. . . . If
      China Taiping or PICC decides to terminate our insurance
      arrangements, not to renew such arrangements after the expiry of our
      cooperation agreements or to significantly increase the insurance
      premiums, our investment opportunities may become less attractive to
      investors.


                                         28
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 29 of 52 PageID: 29




                                      ***

      We cooperate with PICC to provide credit insurance to institutional
      funding partners under our direct lending program. See “Business-
      Users and Partners- Financial Institution Partners” for details.
      However, there are loans referred by us to our institutional funding
      partners under our direct lending program that are not covered by
      PICC’s credit insurance where the relevant institutional funding
      partners may suffer losses if the borrowers default. Furthermore, as
      with other types of insurance, PICC may refuse to pay compensation
      if PICC determines the relevant institutional funding partners are
      not entitled to compensation. The requirements and restrictions under
      the Interim Measure for the Credit Guarantee also apply to the credit
      insurance arrangements under our direct lending program. If PICC
      decides to terminate the insurance arrangements under our direct
      lending program, not to renew such arrangements after the expiry
      of our cooperation agreements or to significantly increase the
      insurance premium, our service may become less attractive to
      institutional funding partners, which may negatively affect the
      development of our direct lending program and our business and
      results of operations could be materially and adversely affected.

      (Emphasis added.)

      72.   In addition, the undisclosed adverse facts and circumstances detailed

above presented known trends, uncertainties and risks that required disclosure in

the Registration Statement under SEC rules. Specifically, Item 303 of SEC

Regulation S-K required the Company to disclose “any known trends or

uncertainties that have had or that [9F] reasonably expects will have a material

favorable or unfavorable impact on net sales or revenues or income from

continuing operations.” Moreover, Item 105 of Regulation S-K required disclosure

in the Registration Statement of “the most significant factors that ma[d]e an


                                      29
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 30 of 52 PageID: 30




investment in [the IPO] speculative or risky,” and an explanation of “how the risk

affect[ed] [9F] or the securities being offered.” As detailed herein, the Registration

Statement failed to disclose material facts necessary to apprise ADS purchasers of

the true risks inherent in investing in the Company and of known adverse trends

and uncertainties.

       73.    Additionally, due to the materially deficient Registration Statement,

Defendants have also violated their independent, affirmative duty to provide

adequate disclosures about adverse conditions, risk and uncertainties. Item 303 of

SEC Reg. S-K, 17 C.F.R. §229.303(a)(3)(ii) requires that the materials

incorporated in a registration statement disclose all “known trends or uncertainties”

reasonably expected to have a material unfavorable impact on the Company’s

operations.

       74.    SEC Regulation S-K, 17 C.F.R. § 229.503, required the “Risk Factor”

section of the Registration Statement to discuss the most significant factors that

made the IPO risky or speculative and that each risk factor adequately described

the risk.

       75.    The statements contained in ¶¶56-64, ¶¶66-69, and ¶71 are materially

false and/or misleading because they misrepresented and failed to disclose the

following adverse facts pertaining to the Company’s business, operations and

prospects, which were known to Defendants or recklessly disregarded by them.


                                         30
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 31 of 52 PageID: 31




Specifically, Defendants’ made false and/or misleading statements and/or failed to

disclose that: (1) the purported value and benefits of the Company’s financial

institution partners and its tri-party cooperation business model did not in fact exist

and/or were materially overstated, given that 9F and PICC had been engaged in an

ongoing contractual dispute regarding payment of service fees under the

Cooperation Agreement; (2) the collectability of service fees owed to 9F by PICC

under the Cooperation Agreement was in doubt and at serious risk of non-payment;

(3) there was a significant risk that PICC would no longer provide credit insurance

and guarantee protection to investors and institutional funding partners; (4) as a

result of the foregoing, the Company’s platform, business model, reputation and

financial results had been materially impaired; and (5) as a result, Defendants’

statements about the Company’s business, operations, and prospects were

materially false and misleading and/or lacked a reasonable basis at all relevant

times.

                            THE TRUTH EMERGES

         76.   Soon after the IPO, several directors resigned from 9F’s Board. On

October 10, 2019, Defendant Cheung resigned from 9F’s Board purportedly for

“personal reasons.” Defendant Xu resigned on January 20, 2020, also purportedly

for personal reasons. Defendants Zhang and Huang resigned on March 16 and

March 27, 2020, respectfully, also purportedly for personal reasons. Defendant Cui


                                         31
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 32 of 52 PageID: 32




also subsequently resigned his directorship despite serving in the position for only

approximately one year.

      77.   During this period, 9F reported a dramatic increase in its accounts

receivable, which the Company would later connect to the deterioration of its

business relationship with PICC. On September 27, 2019, 9F reported its second

quarter 2019 financial results – the quarter prior to the IPO. The Company stated

that its net accounts receivable had increased from RMB277 million as of March

31, 2019 to RMB858 million as of June 30, 2019, a 210% sequential increase.

      78.   On this news, ADSs of 9F fell $0.59 per ADS, or 5%, to close at

$10.35 per ADS on September 27, 2019, damaging investors.

      79.   Then on December 5, 2019, 9F reported its third quarter 2019

financial results—the same quarter during which the IPO had been conducted. The

Company’s net accounts receivables had ballooned in size from RMB180 million

as of December 31, 2018 to RMB1.9 billion—more than ten-fold increase—as of

September 30, 2019.

      80.   On this news, ADSs of 9F fell $0.50 per ADS over the next two

trading days, or nearly 5%, to close at $9.60 per ADS on December 6, 2019,

damaging investors.

      81.   On June 12, 2020, 9F filed a Form 6-K with the SEC in which the

Company belatedly discussed its ongoing dispute with PICC. According to 9F, the


                                        32
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 33 of 52 PageID: 33




dispute involved RMB2.2 billion ($324.5 million) in unpaid service fees and

RMB1.4 billion ($206.5 million) in service fees that had previously been recorded

as accounts receivable and which were now recognized as fully impaired, resulting

in multiple legal actions in China. The press release stated in pertinent part as

follows:

      9F Inc. (“9F” or the “Company”) is filing this current report on
      Form 6-K to disclose legal actions that its PRC affiliates and PICC
      Property and Casualty Company Limited Guangdong Branch (the
      “PICC”) are pursuing against each other relating to a contractual
      dispute. Jiufu Shuke Technology Group Co., Ltd., a variable interest
      entity of 9F (the “Jiufu Shuke”) recently commenced a legal
      proceeding against PICC by submitting a complaint with a local court
      in Beijing (the “Beijing Local Court”) due to PICC’s non-
      performance of a cooperation agreement, as amended (the
      “Cooperation Agreement”) to pay the outstanding service fees under
      9F’s direct lending program (the “9F Initiated Legal Action”). In
      2019, under 9F’s direct lending program, PICC is obligated to pay
      service fees as agreed in the Cooperation Agreement to Jiufu Shuke
      for its services. PICC paid a portion of service fees, but has failed to
      fulfill its remaining payment obligations for the rest of the service
      fees amounting to approximately RMB2.2 billion for a period
      covered under the Cooperation Agreement (the “Outstanding
      Service Fees”). With respect to RMB1.4 billion of the Outstanding
      Service Fees that has been recorded as accounts receivable, the
      Company has recognized full valuation allowance. The Company has
      not recognized the remaining Outstanding Service Fees in the amount
      of approximately RMB0.8 billion, as revenue recognition criteria was
      not met. The dispute with PICC has materially and adversely
      affected the Company’s results of operations and financial condition
      in 2019. With respect to the 9F Initiated Legal Action, Jiufu Shuke
      is seeking damages of approximately RMB2.3 billion from PICC to
      cover the Outstanding Service Fees and related late payment losses.

      After Jiufu Shuke commenced the 9F Initiated Legal Action at the
      Beijing Local Court, PICC filed a civil lawsuit (the “PICC Initiated

                                        33
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 34 of 52 PageID: 34




      Legal Action”) against Jiufu Shuke and Beijing Jiufu Lianyin
      Technology Co., Ltd., a wholly owned subsidiary of 9F (the “Jiufu
      Lianyin”), at a local court in Guangzhou (the “Guangzhou Local
      Court”) claiming that the second amendment under the Cooperation
      Agreement is invalid. PICC requests that Jiufu Shuke return a portion
      of the paid service fees under the Cooperation Agreement and the
      accrued interest, and claims that PICC is not obligated to pay the
      Outstanding Service Fees.

      For the 9F Initiated Legal Action, the Company will vigorously assert
      its rights against PICC. With respect to the PICC Initiated Legal
      Action, the Company intends to defend the action vigorously.
      However, both actions remain at the preliminary stage, and it is not
      possible at this stage to ascertain the outcome of either of the lawsuits.
      If the Company does not prevail in either of the lawsuits completely
      or in part, or fails to reach a favorable settlement with PICC, the
      Company’s results of operations, financial condition, liquidity and
      prospects may be materially and adversely affected.

      (Emphasis added.)

      82.    On June 15, 2020, 9F filed a Form NT 20-F with the SEC stating that

the Company could not timely file its annual report because of its dispute with

PICC. The Form NT 20-F stated that the issues impacted 9F’s results of operations

going back to 2018—i.e., several months before the IPO. The Form NT 20-F

stated in pertinent part as follows:

      The Company anticipates that there will be significant changes in
      results of operations between 2018 and 2019 as a result of the
      dispute and legal proceedings with PICC Property and Casualty
      Company Limited Guangdong Branch (the “PICC”). In 2019, under
      the direct lending program of the Company, PICC is obligated to pay
      service fees as agreed in the cooperation agreement, as amended (the
      “Cooperation Agreement”) to Jiufu Shuke Technology Group Co.,
      Ltd., a variable interest entity of the Company (the “Jiufu Shuke”) for
      its services. PICC paid a portion of service fees, but has failed to fulfil

                                         34
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 35 of 52 PageID: 35




      its remaining payment obligations for the rest of the service fees
      amounting to approximately RMB2.2 billion for a period covered
      under the Cooperation Agreement (the “Outstanding Service Fees”).
      With respect to RMB1.4 billion of the Outstanding Service Fees that
      has been recorded as accounts receivable, the Company has
      recognized full valuation allowance. The Company has not recognized
      the remaining Outstanding Service Fees in the amount of
      approximately RMB0.8 billion, as revenue recognition criteria was
      not met. The dispute with PICC has materially and adversely
      affected the Company’s results of operations and financial condition
      in 2019.

      (Emphasis added.)

      83.   On June 17, 2020, 9F issued a press release on a Form 6-K which

provided the Company’s fourth quarter and full-year 2019 financial results, which

described the devastating financial consequences of the Company’s dispute with

PICC. The Form 6-K stated in pertinent part as follows:

      “Since November 2019, under our online lending information
      intermediary services, new loans with terms of no more than 12
      months are no longer covered by the insurance protection plan of
      PICC Property and Casualty Company Limited Guangdong Branch,
      or the PICC. We have also suspended our cooperation with PICC on
      new loans under our direct lending program since December 2019.
      We and PICC are pursuing legal actions against each other as PICC
      is obligated to pay service fees as agreed in the cooperation agreement
      to us under our direct lending program, and we are seeking damages
      of approximately RMB2.3 billion from PICC to cover the
      outstanding service fees amounting to RMB2.2 billion and related
      late payment losses. With respect to RMB1.4 billion of the
      outstanding service fees that has been recorded as accounts receivable,
      we have recognized full valuation allowance. We have not recognized
      the remaining outstanding service fees in the amount of approximately
      RMB0.8 billion, as revenue recognition criteria was not met.”

      Fourth Quarter 2019 Financial Results

                                       35
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 36 of 52 PageID: 36




      Total net revenues decreased by 54.4% from RMB1,027.8 million in
      the fourth quarter of 2018 to RMB469.0 million (US$67.4 million) in
      the same period of 2019, primarily due to the decrease in loan
      facilitation services revenue.

         • Loan facilitation services revenue decreased by 90.5% from
           RMB925.4 million in the fourth quarter of 2018 to RMB88.0
           million (US$12.6 million) in the same period of 2019. The
           decrease of loan facilitation services revenue was primarily
           because the loan facilitation services revenue under our direct
           lending program in the fourth quarter of 2019 was not
           recognized due to our dispute with PICC.

                                      ***

      Provision (reversal) for doubtful contract assets and receivables
      increased from reversed RMB2.6 million in the fourth quarter of 2018
      to provision RMB2,148.6 million (US$308.6 million) for the same
      period of 2019, primarily because we recognized a full valuation
      allowance for accounts receivable from PICC amounting to
      RMB1,432.3 million (US$205.7 million).

      Operating loss was RMB3,096.4 million (US$444.8 million) in the
      fourth quarter of 2019, compared with operating income RMB177.9
      million in the same period of 2018.

                                      ***

      Net loss was RMB2,863.1 million (US$411.3million) in the fourth
      quarter of 2019, compared with the net income of RMB167.2 million
      for the same period of 2018.

      Adjusted net loss was RMB2,656.5 million (US$381.6 million) in the
      fourth quarter of 2019, compared with the adjusted net income of
      RMB297.2 million in the same period of 2018.

      Fiscal Year 2019 Financial Results
      Total net revenues decreased by 20.4% from RMB5,556.5 million in
      2018 to RMB4,425.0 million (US$635.6 million) in 2019, primarily
      due to the decrease in loan facilitation services revenue.

                                      36
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 37 of 52 PageID: 37




            • Loan facilitation services revenue decreased by 29.9% from
              RMB4,960.7 million in 2018 to RMB3,477.9 million
              (US$499.6 million) in 2019. The decrease of loan facilitation
              services revenue was primarily because the loan facilitation
              services revenue under our direct lending program in the
              fourth quarter of 2019 was not recognized due to our dispute
              with PICC.

                                        ***

      Provision (reversal) for doubtful contract assets and receivables
      increased from reversed RMB2.6 million in 2018 to provision
      RMB2,148.6 million (US$308.6 million) in 2019, primarily because
      we recognized a full valuation allowance for accounts receivable
      from PICC amounting to RMB1,432.3 million (US$205.7 million).
      Operating loss was RMB2,360.3 million (US$339.0 million) in 2019,
      compared with operating income RMB2,208.2 million in 2018.

                                        ***

      Net loss was RMB2,153.6 million (US$309.4 million) in 2019,
      compared with the net income of RMB1,975.2 million in 2018.

      Adjusted net loss was RMB1,644.6 million (US$236.2 million) in
      2019, compared with the adjusted net income of RMB2,483.3
      million in 2018.

      (Emphasis added.) (Footnote omitted.)

      84.     On this news, shares of 9F fell $0.31 per ADS, or nearly 5%, from its

close on June 11, 2020 to close at $6.00 per ADS on June 17, 2020, further

damaging investors.

      85.     On June 24, 2020, the Company filed a Form 20-F with the SEC,

which further indicated that the harm caused by the breakdown in the relationship


                                        37
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 38 of 52 PageID: 38




between 9F and PICC predated the IPO, because the Company recognized in the

Form 20-F a full valuation allowance for the accounts receivable from PICC of

more than RMB1.4 billion. The dramatic increase in accounts receivable was first

reported by the Company after the IPO in connection with its second quarter 2019

financial results (as reported on September 27, 2019) and third quarter 2019

financial results. Furthermore, the magnitude of the outstanding payments

indicated that the delinquent payments had begun accruing long before the IPO.

      86.    The Company’s Form 20-F further confirmed the financial and

operational damage that would be suffered by 9F as a result of the loss of PICC as

a partner, stating in pertinent part as follows:

      In addition, investors or institutional funding partners may perceive
      protections provided by financing guarantee companies inferior to
      PICC’s insurance protection, which may make our services less
      attractive to investors or institutional funding partners, which may
      negatively affect our services and our business and results of
      operations could be materially and adversely affected.

      (Emphasis added.)

      87.    On this news, shares of 9F fell $0.57 per ADS, or 14%, to close at

$4.05 per ADS on June 25, 2020, further damaging investors.

      88.    On September 29, 2020, 9F reported its first half 2020 financial

results. The Company stated that its loan origination volume had fallen over 90%,

the number of active borrowers utilizing the 9F platform had decreased over 80%



                                          38
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 39 of 52 PageID: 39




and the Company’s total net revenues had plummeted over 60% during the first

half of 2020 as compared to the latter half of 2019.

      89.    On this news, ADSs of 9F fell $0.20 per ADS, or 18%, to close at

$0.91 per ADS on September 29, 2020, further damaging investors.

      90.    Subsequent to the IPO, the price of 9F ADSs has plummeted in value.

As of the filing of this complaint, 9F ADSs were trading at about $1.40 per ADS.

      91.    Since the IPO, and as a result of the disclosure of material adverse

facts omitted from the Company’s Registration Statement, 9F’s stock price has

significantly fallen below its IPO price, damaging Plaintiff and Class members.

      92.    As a result of Defendants’ wrongful acts and omissions, and the

precipitous decline in the market value of the Company’s securities, Plaintiff and

other Class members have suffered significant losses and damages.

               PLAINTIFF’S CLASS ACTION ALLEGATIONS

      93.    Plaintiff brings this action as a class action on behalf of all those who

purchased the Company’s securities pursuant and/or traceable to the Registration

Statement and/or during the Class Period (the “Class”). Excluded from the Class

are Defendants and their families, the officers and directors and affiliates of

Defendants, at all relevant times, members of their immediate families and their

legal representatives, heirs, successors or assigns and any entity in which

Defendants have or had a controlling interest.


                                         39
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 40 of 52 PageID: 40




      94.    The members of the Class are so numerous that joinder of all

members is impracticable. While the exact number of Class members is unknown

to Plaintiff at this time and can only be ascertained through appropriate discovery,

Plaintiff believes that there are at least thousands of members in the proposed

Class. Record owners and other members of the Class may be identified from

records maintained by the Company or its transfer agent and may be notified of

the pendency of this action by mail, using the form of notice similar to that

customarily used in securities class actions.

      95.    Plaintiff’s claims are typical of the claims of the members of the

Class, as all members of the Class are similarly affected by Defendants’ wrongful

conduct in violation of federal law that is complained of herein.

      96.    Plaintiff will fairly and adequately protect the interests of the

members of the Class and has retained counsel competent and experienced in class

and securities litigation.

      97.    Common questions of law and fact exist as to all members of the

Class and predominate over any questions solely affecting individual members of

the Class. Among the questions of law and fact common to the Class are:

             (a)    whether Defendants violated the federal securities laws;

             (b)    whether the Registration Statement contained false or

             misleading statements of material fact and omitted material


                                         40
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 41 of 52 PageID: 41




            information required to be stated therein; and to what extent the

            members of the Class have sustained damages and the proper

            measure of damages;

            (c)   whether Defendants’ statements to the investing public during

            the Class Period misrepresented material facts about the financial

            condition, business, operations, and management of the Company;

            (d)   whether Defendants’ statements to the investing public during

            the Class Period omitted material facts necessary to make the

            statements made, in light of the circumstances under which they were

            made, not misleading;

            (e)   whether Defendants caused the Company to issue false and

            misleading SEC filings and public statements during the Class

            Period;

            (f)   whether Defendants acted knowingly or recklessly in issuing

            false and misleading SEC filings and public statements during the

            Class Period;

            (g)   whether the prices of the Company’s securities during the

            Class Period were artificially inflated because of the Defendants’

            conduct complained of herein; and




                                      41
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 42 of 52 PageID: 42




             (f)      to what extent the members of the Class have sustained

             damages and the proper measure of damages.

      98.    A class action is superior to all other available methods for the fair

and efficient adjudication of this controversy since joinder of all members is

impracticable. Furthermore, as the damages suffered by individual Class members

may be relatively small, the expense and burden of individual litigation make it

impossible for members of the Class to individually redress the wrongs done to

them. There will be no difficulty in the management of this action as a class

action.

                                      COUNT I
                   For Violations of Section 11 of the Securities Act
                                Against All Defendants
      99.    Plaintiff incorporates all the foregoing by reference.

      100. This Count is brought pursuant to §11 of the Securities Act, 15

U.S.C. §77k, on behalf of the Class, against all Defendants.

      101. The Registration Statement contained untrue statements of material

facts, omitted to state other facts necessary to make the statements made not

misleading, and omitted to state material facts required to be stated therein.

      102. Defendants are strictly liable to Plaintiff and the Class for the

misstatements and omissions.



                                          42
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 43 of 52 PageID: 43




      103. None of the Defendants named herein made a reasonable

investigation or possessed reasonable grounds for the belief that the statements

contained in the Registration Statement were true and without omissions of any

material facts and were not misleading.

      104. By reason of the conduct herein alleged, each Defendant violated or

controlled a person who violated §11 of the Securities Act.

      105. Plaintiff acquired the Company’s securities pursuant to the

Registration Statement.

      106. At the time of their purchases of 9F securities, Plaintiff and other

members of the Class were without knowledge of the facts concerning the

wrongful conduct alleged herein and could not have reasonably discovered those

facts prior to the disclosures herein.

      107. This claim is brought within one year after discovery of the untrue

statements and/or omissions in the Offering that should have been made and/or

corrected through the exercise of reasonable diligence, and within three years of

the effective date of the Offering. It is therefore timely.

                                         COUNT II
               Violations of Section 12(a)(2) of the Securities Act
                               Against All Defendants
      108. Plaintiff incorporates all the foregoing by reference.



                                           43
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 44 of 52 PageID: 44




      109. By means of the defective Prospectus, Defendants promoted,

solicited, and sold 9F securities to Plaintiff and other members of the Class.

      110. The Prospectus for the IPO contained untrue statements of material

fact, and concealed and failed to disclose material facts, as detailed above.

Defendants owed Plaintiff and the other members of the Class who purchased the

Company’s securities pursuant to the Prospectus the duty to make a reasonable

and diligent investigation of the statements contained in the Prospectus to ensure

that such statements were true and that there was no omission to state a material

fact required to be stated in order to make the statements contained therein not

misleading. Defendants, in the exercise of reasonable care, should have known of

the misstatements and omissions contained in the Prospectus as set forth above.

      111. Plaintiff did not know, nor in the exercise of reasonable diligence

could Plaintiff have known, of the untruths and omissions contained in the

Prospectus at the time Plaintiff acquired 9F securities.

      112. By reason of the conduct alleged herein, Defendants violated

§12(a)(2) of the Securities Act, 15 U.S.C. §77l(a)(2). As a direct and proximate

result of such violations, Plaintiff and the other members of the Class who

purchased 9F securities pursuant to the Prospectus sustained substantial damages

in connection with their purchases of the shares. Accordingly, Plaintiff and the

other members of the Class who hold the securities issued pursuant to the


                                         44
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 45 of 52 PageID: 45




Prospectus have the right to rescind and recover the consideration paid for their

shares, and hereby tender their securities to Defendants sued herein. Class

members who have sold their securities seek damages to the extent permitted by

law.

       113. This claim is brought within one year after discovery of the untrue

statements and/or omissions in the Offering that should have been made and/or

corrected through the exercise of reasonable diligence, and within three years of

the effective date of the Offering. It is therefore timely.




                                     COUNT III

                   Violations of Section 15 of the Securities Act

                         Against the Offering Defendants

       114. Plaintiff incorporates all the foregoing by reference.

       115. This cause of action is brought pursuant to §15 of the Securities Act,

15 U.S.C. §77o against all Defendants except the Underwriter Defendants.

       116. The Offering Defendants were controlling persons of 9F by virtue of

their positions as directors or senior officers of the Company. The Offering

Defendants each had a series of direct and indirect business and personal


                                          45
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 46 of 52 PageID: 46




relationships with other directors and officers and major shareholders of the

Company. The Company controlled the Offering Defendants and all of 9F

employees.

      117. The Company and the Offering Defendants were culpable

participants in the violations of §§11 and 12(a)(2) of the Securities Act as alleged

above, based on their having signed or authorized the signing of the Registration

Statement and having otherwise participated in the process which allowed the IPO

to be successfully completed.

      118. This claim is brought within one year after discovery of the untrue

statements and/or omissions in the Offering that should have been made and/or

corrected through the exercise of reasonable diligence, and within three years of

the effective date of the Offering. It is therefore timely.

                                      COUNT IV

        Violation of Section 10(b) of The Exchange Act and Rule 10b-5

             Against Defendants 9F and the Individual Defendants

      119. Plaintiff repeats and realleges each and every allegation contained

above as if fully set forth herein.

      120. This Count is asserted against the Company and the Offering

Defendants and is based upon Section 10(b) of the Exchange Act, 15 U.S.C. §

78j(b), and Rule 10b-5 promulgated thereunder by the SEC.


                                          46
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 47 of 52 PageID: 47




      121. During the Class Period, Defendants 9F and the Individual

Defendants, individually and in concert, directly or indirectly, disseminated or

approved the false statements specified above, which they knew or deliberately

disregarded were misleading in that they contained misrepresentations and failed

to disclose material facts necessary in order to make the statements made, in light

of the circumstances under which they were made, not misleading.

      122. Defendants 9F and the Individual Defendants violated §10(b) of the

1934 Act and Rule 10b-5 in that they:

            (a)    employed devices, schemes and artifices to defraud;

            (b)    made untrue statements of material facts or omitted to state

            material facts necessary in order to make the statements made, in

            light of the circumstances under which they were made, not

            misleading; or

            (c)    engaged in acts, practices and a course of business that

            operated as a fraud or deceit upon plaintiff and others similarly

            situated in connection with their purchases of the Company’s

            securities during the Class Period.

      123. Defendants 9F and the Individual Defendants acted with scienter in

that they knew that the public documents and statements issued or disseminated in

the name of the Company were materially false and misleading; knew that such


                                        47
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 48 of 52 PageID: 48




statements or documents would be issued or disseminated to the investing public;

and knowingly and substantially participated, or acquiesced in the issuance or

dissemination of such statements or documents as primary violations of the

securities laws. These defendants by virtue of their receipt of information

reflecting the true facts of the Company, their control over, and/or receipt and/or

modification of the Company’s allegedly materially misleading statements, and/or

their associations with the Company which made them privy to confidential

proprietary information concerning the Company, participated in the fraudulent

scheme alleged herein.

      124. The Individual Defendants, who is a senior officer and director of the

Company, had actual knowledge of the material omissions and/or the falsity of the

material statements set forth above, and intended to deceive Plaintiff and the other

members of the Class, or, in the alternative, acted with reckless disregard for the

truth when they failed to ascertain and disclose the true facts in the statements

made by them or other personnel of the Company to members of the investing

public, including Plaintiff and the Class.

      125. As a result of the foregoing, the market price of the Company’s

securities was artificially inflated during the Class Period. In ignorance of the

falsity of the Company’s and the Individual Defendants’ statements, Plaintiff and

the other members of the Class relied on the statements described above and/or the


                                         48
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 49 of 52 PageID: 49




integrity of the market price of the Company’s securities during the Class Period

in purchasing the Company’s securities at prices that were artificially inflated as a

result of the Company’s and the Individual Defendants’ false and misleading

statements.

         126. Had Plaintiff and the other members of the Class been aware that the

market price of 9F securities had been artificially and falsely inflated by the

Company’s and the Individual Defendants’ misleading statements and by the

material adverse information which the Company and the Individual Defendants

did not disclose, they would not have purchased the Company’s securities at the

artificially inflated prices that they did, or at all.

         127. As a result of the wrongful conduct alleged herein, Plaintiff and other

members of the Class have suffered damages in an amount to be established at

trial.

         128. By reason of the foregoing, the Company and the Offering

Defendants have violated Section 10(b) of the 1934 Act and Rule 10b-5

promulgated thereunder and are liable to the Plaintiff and the other members of

the Class for substantial damages which they suffered in connection with their

purchases of the Company’s securities during the Class Period.

                                        COUNT V

                   Violation of Section 20(a) of The Exchange Act


                                             49
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 50 of 52 PageID: 50




                        Against the Individual Defendants

      129. Plaintiff repeats and realleges each and every allegation contained in

the foregoing paragraphs as if fully set forth herein.

      130. During the Class Period, the Individual Defendants participated in the

operation and management of the Company, and conducted and participated,

directly and indirectly, in the conduct of the Company’s business affairs. Because

of their senior positions, they knew the adverse non-public information regarding

the Company’s business practices.

      131. As officers and directors of a publicly owned company, the

Individual Defendants had a duty to disseminate accurate and truthful information

with respect to the Company’s financial condition and operations, and to correct

promptly any public statements issued by the Company which had become

materially false or misleading.

      132. Because of their positions of control and authority as senior officers,

the Individual Defendants were able to, and did, control the contents of the various

reports, press releases and public filings which the Company disseminated in the

marketplace during the Class Period. Throughout the Class Period, the Individual

Defendants exercised their power and authority to cause the Company to engage

in the wrongful acts complained of herein. The Individual Defendants therefore,

were “controlling persons” of the Company within the meaning of Section 20(a)


                                          50
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 51 of 52 PageID: 51




of the Exchange Act. In this capacity, they participated in the unlawful conduct

alleged which artificially inflated the market price of the Company’s securities.

      133. The Individual Defendants, therefore, acted as controlling persons of

the Company. By reason of their senior management positions and being a

director of the Company, they had the power to direct the actions of, and exercised

the same to cause, the Company to engage in the unlawful acts and conduct

complained of herein. The Individual Defendants exercised control over the

general operations of the Company and possessed the power to control the specific

activities which comprise the primary violations about which Plaintiff and the

other members of the Class complain.

      134. By reason of the above conduct, the Individual Defendants is liable

pursuant to Section 20(a) of the Exchange Act for the violations committed by the

Company.

                             PRAYER FOR RELIEF

      WHEREFORE, plaintiff, on behalf of himself and the Class, prays for

judgment and relief as follows:

             (a)   declaring this action to be a proper class action, designating

             plaintiff as Lead Plaintiff and certifying plaintiff as a class

             representative under Rule 23 of the Federal Rules of Civil Procedure

             and designating plaintiff’s counsel as Lead Counsel;


                                         51
Case 2:21-cv-00948-MCA-MAH Document 1 Filed 01/20/21 Page 52 of 52 PageID: 52




            (b)    awarding damages in favor of plaintiff and the other Class

            members against all defendants, jointly and severally, together with

            interest thereon;

            (c)    awarding plaintiff and the Class reasonable costs and expenses

            incurred in this action, including counsel fees and expert fees; and

            (d)    awarding plaintiff and other members of the Class such other

            and further relief as the Court may deem just and proper.

                          JURY TRIAL DEMANDED

      Plaintiff hereby demands a trial by jury.


Dated: January 20, 2021                THE ROSEN LAW FIRM, P.A.

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                                        52
